         Case 1:24-cv-08808-JAV               Document 10      Filed 11/21/24    Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Jane Doe,

                          Plaintiff,

                                v.

SEAN COMBS, DADDY’S HOUSE
RECORDINGS INC., CE OPCO, LLC d/b/a                                             ORDER
COMBS GLOBAL f/k/a COMBS
ENTERPRISES LLC, BAD BOY                                                    24-cv-08808
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS,
INC., BAD BOY BOOKS HOLDINGS, INC.,
BAD BOY RECORDS LLC, BAD BOY
ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, ORGANIZATIONAL
DOES 1-10, and INDIVIDUAL DOES 1-10,

                           Defendants.
-------------------------------------------------------X




        Upon good cause shown, the request of Plaintiff to proceed using the pseudonym “Jane

Doe” is GRANTED, without prejudice to defendants to object after they have been served.



Date: November 21, 2024                                    _____________________________
      New York, New York                                   Hon. Edgardo Ramos
                                                           United States District Judge
